Case 0:19-cv-62565-RS Document 13 Entered on FLSD Docket 12/16/2019 Page 1 of 2



                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                          CASE NO. 0:19-CV-62565-RS

 RYAN TURIZO,

        Plaintiff,
 vs.

 4BUSH HOLDINGS LLC, and
 JARED FORBUSH,

       Defendant.
 _________________________________/
                 PLAINTIFF’S NOTICE OF STRIKING DOCKET ENTRY 12

        Plaintiff RYAN TURIZO, by and though undersigned counsel, hereby gives notice of

 striking Plaintiff’s First Amended Complaint [D.E. 12], as said filing was inadvertently filed with

 the incorrect spelling of the newly added Defendant. In particular, D.E. 12 identifies the newly

 added Defendant as “JARED FORDBORD;” however, as correctly identified herein, the correct

 spelling of the newly added Defendant is “JARED FORBUSH. A corrected filing shall be filed

 subsequent to this Notice.

        DATED: December 16, 2019
                                                               Respectfully Submitted,

                                                                /s/ Jibrael S. Hindi                                   .
                                                               JIBRAEL S. HINDI, ESQ.
                                                               Florida Bar No.: 118259
                                                               E-mail:      jibrael@jibraellaw.com
                                                               THOMAS J. PATTI, ESQ.
                                                               Florida Bar No.: 118377
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                                                               The Law Offices of Jibrael S. Hindi
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                                                               Fort Lauderdale, Florida 33301
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                                                               COUNSEL FOR PLAINTIFF

                                                                                                                PAGE | 1 of 2
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Case 0:19-cv-62565-RS Document 13 Entered on FLSD Docket 12/16/2019 Page 2 of 2



                                              CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on December 16, 2019, the foregoing was

 electronically filed with the Clerk of the Court using the CM/ECF system which will send a notice

 of electronic filing to all counsel of record.

                                                                      /s/ Thomas J. Patti                       _
                                                                     THOMAS J. PATTI, ESQ.
                                                                     Florida Bar No.: 118377




                                                                                                                 PAGE | 2 of 2
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